Case 1:19-cv-05523-SDG Document 151 Filed 07/22/21 Page 1of1

AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Northern District of Georgia

Case Number: 1:19-CV-5523-ODE

Plaintiff:
Berkeley Ventures II, LLC

vs.

Defendant:
Sionic Mobile Corporation
Ronald D. Herman

Received by Ancillary Legal Corporation to be served on WPG Financial, LLC c/o Mr. Steve Gessner,
Natty Boh Tower, 3600 O'Donnell St., #860, Baltimore, MD 21224.

|, Chris Crawford, being duly sworn, depose and say that on the 16th day of July, 2021 at 1:42 pm, I:

served a CORPORATION, PARTNERSHIP, ASSOCIATION OR GOVERNMENT SERVICE by delivering
a true copy of the Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
of Premises in a Civil Action with attached Exhibit A with the date and hour of service endorsed
thereon by me, to: Nicolas Rumke as Authorized Agent for WPG Financial, LLC, at the address of:
3600 O'Donnell St., #860, Baltimore, MD 21224, and informed said person of the contents therein, in
compliance with state statutes.

Additional Information pertaining to this Service:

7/16/2021 1:40 pm Mr. Steve Gessner was not in the office at this time. Authorized Agent Nicolas Rumke
called Steve Gessner on the phone to confirm that he could accept the documents and Gessner instructed
him to accept the documents. | handed Rumke the documents.

Description of Person Served: Age: 30, Sex: M, Race/Skin Color: White, Height: 5'8", Weight: 190, Hair:
Black, Glasses: Y

| solemnly affirm under the penaities of perjury that the contents of this affidavit are true and correct to the
best of my knowledge, information and belief.

| certify that | am over eighteen years old and not a party to this action.

ee —
22 J] Chris Crawford = s
Subscribed Sworn to befgre me on the ¥L Date Signed:
day of Ww , by the affiant

who is pers wet kriown pes tay, Ancillary Legal Corporation
i /

Mz ‘ty, 2900 Chamblee Tucker Rd, Building 13,

  
 
    
 
    

aft My, Atlanta, GA 30341

NOTARY PUBLIC = S Bee (404) 459-8006
= WOTAR, 37 =
=w: == _— Our Job Serial Number: ANC-2021007829
ae Fupic igs Ref: Berkeley

2% “ws

Opp. ADT SS

tf) Spine. jabase Services, Inc. - Process Server's Toolbox V8.1c
4

\*
